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                              EXHIBIT 
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    Go gle Maps                                Cupertino, California to Marshall, Texas                                                                          Drive 1,856 miles,
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                                                                                                              Map data ©2024 Google, INEGI                                                 100 mi



              via 1-40 E                                                         28 hr
              26 hr without tra£c                                          1,856 miles
               A This route has tolls.
               A Your destination is in a different time zone.

              via 1-40 E and 1-20 E                                              28 hr
              26 hr without tra£c                                          1,867 miles



              San Jose, CA-Shreveport,                                    5 hr 35 min
              LA                                                           from $334



     Explore new places along this route
     Add suggested stops




https://www.google.com/maps/dir/Cupertino,+California/Marshall,+Texas/@34.1240844,-113.063296,6z/data=!4m13!4m12!1m5!1m1!1s0x808fb4571b…                                                                                              1/2
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                                          4.8     (663)




       4.5     (481)                      4.6     (1,235)




       4.8     (32,374)                   4.5     (3,305)




       4.7     (8,860)                    4.7     (12,899)




       4.8     (13,235)                          See more stops




     Explore Marshall




https://www.google.com/maps/dir/Cupertino,+California/Marshall,+Texas/@34.1240844,-113.063296,6z/data=!4m13!4m12!1m5!1m1!1s0x808fb4571b…   2/2
